                  IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       DOCKET NO. 3:12-CR-013-MOC-DCK

UNITED STATES OF AMERICA,)
                              )
                  Plaintiff,  )
                              )
v.                            )                      ORDER
                              )
ABDUL WHITE,                  )
                              )
                  Defendant. )
______________________________)

       THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Adopt Hardin

Motion To Dismiss” (Document No. 103) filed July 31, 2012. Having carefully considered the

motion and the record, and applicable authority, the undersigned will grant the motion.

       IT IS THEREFORE ORDERED that Defendant’s “Motion To Adopt Hardin Motion

To Dismiss” (Document No. 103) is hereby GRANTED. This Order of course constitutes no

action on the underlying motion to dismiss, which the Court will address at a future date.

       SO ORDERED.



                                                Signed: August 1, 2012




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